             Case 3:19-cr-00621-EMC Document 389 Filed 08/18/22 Page 1 of 3



 1   JODI LINKER
     Federal Public Defender
 2   Northern District of California
     ANGELA CHUANG
 3   Assistant Federal Public Defender
     19th Floor Federal Building - Box 36106
 4
     450 Golden Gate Avenue
 5   San Francisco, CA 94102
     Telephone: (415) 436-7700
 6   Facsimile: (415) 436-7706
     Email:       Angela_chuang@fd.org
 7

 8   Counsel for Defendant ABOUAMMO
 9

10                             IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14      UNITED STATES OF AMERICA,                         Case No.: CR 19–621 EMC
15                       Plaintiff,                       STIPULATION AND [PROPOSED]
                                                          ORDER TO SET POST-TRIAL
16              v.                                        BRIEFING SCHEDULE
17      AHMAD ABOUAMMO,
18                       Defendant.
19

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21           A jury trial in the above titled matter recently concluded on August 9, 2022, with a

22   guilty verdict as to six counts and a not guilty verdict as to five counts. Undersigned defense

23   counsel is investigating post-trial motions, including potential Rule 29 and Rule 33 motions.

24   The parties therefore propose the following briefing schedule:

25             •     Defendant’s motion due by 12pm on September 22, 2022;

26             •     Government’s opposition due October 11, 2022;

27             •     Defendant’s reply (if any) due October 24, 2022;

28

     [PROPOSED] STIPULATED ORDER
     ABOUAMMO, CR 19–621 EMC
             Case 3:19-cr-00621-EMC Document 389 Filed 08/18/22 Page 2 of 3



 1             •   Motions hearing (if the Court continues to allow hearings via Zoom), if necessary,
 2                 on November 9, 2022, at 2:30 PM.
 3           Additionally, the government takes the position that this briefing schedule should not
 4    continue sentencing and requests that the Court schedule a sentencing date no later than
 5    Wednesday, January 18, 2023. The defense opposes and takes the position that a sentencing
 6    date should be set after completion of post-trial motions, as decisions on such motions could
 7    impact sentencing.
 8
               IT IS SO STIPULATED.
 9

10                    August 18, 2022                   STEPHANIE M. HINDS
                      Dated                             United States Attorney
11                                                      Northern District of California
12                                                                /S
13                                                      COLIN SAMPSON
                                                        Assistant United States Attorney
14

15
                      August 18, 2022                   JODI LINKER
16
                      Dated                             Federal Public Defender
17                                                      Northern District of California

18                                                                /S
                                                        ANGELA CHUANG
19                                                      Attorney for Ahmad Abouammo
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     [PROPOSED] STIPULATED ORDER
     ABOUAMMO, CR 19–621 EMC
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             Case 3:19-cr-00621-EMC Document 389 Filed 08/18/22 Page 3 of 3



 1                                     [PROPOSED] ORDER
 2           For the reasons stated above, the Court CONTINUES this case to November 9, 2022, at
 3   2:30 PM for a motions hearing. The Court hereby adopts the briefing schedule proposed above
 4   for post-trial motions.
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 6
     IT IS SO ORDERED.
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 8   DATED:                                                _____________________________
                                                           EDWARD M. CHEN
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                                                           United States Senior District Judge
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     [PROPOSED] STIPULATED ORDER
     ABOUAMMO, CR 19–621 EMC
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